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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
_____________________________
                                    )
JAIME H. PIZARRO, CRAIG             )
SMITH, JERRY MURPHY,                )
RANDALL IDEISHI, GLENDA             )
STONE, RACHELLE NORTH,              )
MARIE SILVER, and GARTH             )
TAYLOR, on behalf of themselves )
and all others similarly situated,  )       CIVIL ACTION FILE
                                    )       No. 1:18-cv-01566-WMR
      Plaintiffs,                   )
                                    )
v.                                  )
                                    )
THE HOME DEPOT, INC.; THE           )
ADMINISTRATIVE                      )
COMMITTEE OF THE HOME               )
DEPOT FUTUREBUILDER                 )
401(K) PLAN; THE                    )
INVESTMENT COMMITTEE OF )
THE HOME DEPOT                      )
FUTUREBUILDER 401(K) PLAN; )
AND DOES 1-30,                      )
                                    )
      Defendants.                   )
______________________________

   THE HOME DEPOT DEFENDANTS’ MOTION TO EXCLUDE THE
      OPINIONS AND TESTIMONY OF DR. GERALD BUETOW

      Pursuant to Rule 702 of the Federal Rules of Evidence, Defendants The Home

Depot, Inc., The Administrative Committee of the Home Depot FutureBuilder, and

the Investment Committee of the Home Depot FutureBuilder (collectively, “The
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Home Depot Defendants”) hereby move to exclude the opinions and testimony of

Plaintiffs’ expert Dr. Gerald Buetow. The grounds for this motion and supporting

authority are set forth in The Home Depot Defendants’ accompanying brief.


      Dated: July 12, 2021

                                           /s/ David Tetrick, Jr.
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                                           Attorneys for    The   Home      Depot
                                           Defendants




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1D, the undersigned certifies that the foregoing complies

with the font and point selections permitted by LR 5.1B. This Motion was prepared

on a computer using the Times New Roman font (14 point).

      Respectfully submitted this 12th day of July, 2021.


                                            /s/ David Tetrick, Jr.
                                            Georgia Bar No. 713653
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of July 2021, I electronically filed THE

HOME DEPOT DEFENDANTS’ MOTION TO EXCLUDE THE OPINIONS

AND TESTIMONY OF DR. GERALD BUETOW with the Clerk of the Court

using CM/ECF which will automatically send a copy to all attorneys of record.

                                             /s/ David Tetrick, Jr.
                                             Georgia Bar No. 713653
